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     CODDINGTON and JERRY POWERS
 9
10                    UNITED STATES DISTRICT COURT
11                  CENTRAL DISTRICT OF CALIFORNIA
12
13   ARIANA AMORE,                             Case No.: 2:17-cv-5207-JAK
14                  Plaintiff,                 (Hon. John A. Kronstadt)
15
           vs.                                 PARTIES’ JOINT STATUS
16                                             REPORT RE STATUS OF
17   COUNTY OF LOS ANGELES, LOS                SETTLEMENT
     ANGELES COUNTY PROBATION
18   DEPARTMENT, LOS ANGELES                   Action Filed: July 14, 2017
19   COUNTY CHIEF PROBATION
     OFFICER JERRY POWERS, DEPUTY              Order to Show Cause Hearing:
20   PROBATION OFFICER OSCAR                   July 16, 2018
21   CALDERON, JR., DEPUTY                     Time: 1:30 p.m.
     PROBATION OFFICER FNU
22
     IBANEZ, DEPUTY PROBATION
23   OFFICER FNU GONZALEZ,
     SUPERVISING DEPUTY
24
     PROBATION OFFICER FNU
25   CODDINGTON, and DOES 1 TO 10,
26
                 Defendants.
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 1   TO THE HONORABLE COURT:
 2         Pursuant to the Court’s Order Setting Order to Show Cause re
 3   Dismissal, the Parties to this action hereby submit the following settlement
 4   status report:
 5         1.     A Notice of Settlement of the Entire Action with prejudice,
 6   subject to County of Los Angeles’ settlement approval process, including
 7   Board of Supervisors’ approval, was filed on January 15, 2018.
 8         2.     County of Los Angeles rules require a detailed summary and
 9   corrective action plan be prepared and approved by the subject County
10   department as a first step in the settlement approval process. This
11   requirement provides safeguards to prevent future occurrence of the
12   complained about conduct.
13         3.     The County Counsel Settlement Memorandum and the detailed
14   corrective action plan have been completed.
15         4.     Due to the large settlement amount, a review and approval by
16   the Claims Board and the Board of Supervisors are also required.
17         5.     The subject corrective action plan and settlement memorandum
18   was unable to be placed on the May 21st Claims Board agenda for
19   consideration due to scheduling conflicts and limitations on the amount of
20   items to be considered on the agenda.
21
           6.     The plan and settlement memorandum was approved by the
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     Claims Board at its meeting on June 19, 2018. The settlement is now
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     planned for review and consideration by the Board of Supervisors at its July
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     10, 2018 regularly scheduled meeting.
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           7.     At the request of Plaintiff, the settlement agreement has been
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     amended and fully re-executed to include a structured settlement annuity
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 1   provisions. The settlement approval process does not require any further
 2   input or action by the Plaintiff.
 3         It is respectfully submitted that the Court schedule a further order to
 4   show cause hearing on this matter in 60 days. The Defendants will submit an
 5   updated status report advising this Court of any further developments in the
 6   settlement approval process.
 7
 8
                                           Respectfully submitted,
 9
10   Dated: July 5, 2018                   LAW OFFICES OF JUSTIN STERLING
11                                         LAW OFFICES OF ERIN DARLING
12
13
                                           By: /s/ JUSTIN STERLING
14                                             JUSTIN STERLING
15                                             ERIN DARLING
                                               Attorneys for Plaintiff
16
17
      Dated: July 5, 2018                  SEKI, NISHIMURA & WATASE, LLP
18
19
20                                         By: /s/ GILBERT M. NISHIMURA
21                                              GILBERT M. NISHIMURA
                                                JANET L. KEUPER
22                                              Attorneys for Defendants
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